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                     UNITED STATES COURT OF APPEALS                      FILED
                            FOR THE NINTH CIRCUIT                            AUG 4 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
 JAMES SHAYLER, an individual,                  No.     21-56130

                 Plaintiff-Appellant,           D.C. No.
                                                2:20-cv-10751-GW-GJS
   v.                                           Central District of California,
                                                Los Angeles
 1310 PCH, LLC, a California Limited
 Liability Company,                             ORDER

                 Defendant-Appellee.

        The court is of the unanimous opinion that the facts and legal argument are

 adequately presented in the briefs and record, and that the decisional process would

 not be significantly aided by oral argument. Therefore, this matter is ordered

 submitted on the briefs and record without oral argument on August 31, 2022, in

 Pasadena, California. Fed. R. App. P. 34(a)(2).




                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT


                                                   By: Allison Fung
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7
